           Case 1:19-cr-00862-VEC Document 231 Filed 11/02/20       USDCPage 1 of 3
                                                                           SDNY
                                                                    DOCUMENT
                                                                    ELECTRONICALLY FILED
                                                                    DOC #:
UNITED STATES DISTRICT COURT                                        DATE FILED: 11/2/2020
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 UNITED STATES OF AMERICA                                     :
                                                              : 19-CR-862 (VEC)
                 -against-                                    :
                                                              :     ORDER
 ANGEL LOPEZ,                                                 :
                                                              :
                                          Defendant.          :
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

         WHEREAS the sentencing of Mr. Lopez is currently scheduled for Tuesday, November

17, 2020, at 11:00 A.M.; and

         WHEREAS on November 2, 2020, Defense counsel requested an adjournment of the

sentencing, Dkt. 230;

         IT IS HEREBY ORDERED that the sentencing is adjourned to Thursday, December 10,

2020, at 2:00 P.M.

         IT IS FURTHER ORDERED THAT the sentencing will be held in Courtroom 443 of the

Thurgood Marshall United States Courthouse, located at 40 Foley Square, New York, New York

10007.

         IT IS FURTHER ORDERED that per the SDNY COVID-19 COURTHOUSE ENTRY

PROGRAM, any person who appears at any SDNY courthouse must complete a questionnaire

and have his or her temperature taken. Please see the enclosed instructions. Completing the

questionnaire ahead of time will save time and effort upon entry. Only those individuals who

meet the entry requirements established by the questionnaire will be permitted entry. Please

contact chambers promptly if you or your client do not meet the requirements.
        Case 1:19-cr-00862-VEC Document 231 Filed 11/02/20 Page 2 of 3




       IT IS FURTHER ORDERED that interested members of the public may attend by dialing

1-888-363-4749, using the access code 3121171 and the security code 0862. All of those

accessing the hearing are reminded that recording or rebroadcasting of the proceeding is

prohibited by law.




SO ORDERED.

Dated: November 2, 2020
      New York, NY
                                                           ______________________________
                                                                 VALERIE CAPRONI
                                                                 United States District Judge




                                             2 of 3
         Case 1:19-cr-00862-VEC Document 231 Filed 11/02/20 Page 3 of 3




Instructions for Courthouse Entry

All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.

On the day you are due to arrive at the courthouse, click on the following weblink to begin the
enrollment process. Follow the instructions and fill out the questionnaire. If your answers meet the
requirements for entry, you will be sent a QR code to be used at the SDNY entry device at the
courthouse entrance.

Weblink: https://app.certify.me/SDNYPublic

Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.




                                               3 of 3
